                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                           DOCKET NO. 5:05CR258-3-V


UNITED STATES OF AMERICA                            )
                                                    )
             v.                                     )          ORDER
                                                    )
DARRELL PROFFITT,                                   )
                                                    )
                  Defendant.                        )
__________________________________________


      THIS MATTER is before the Court on counsel for the Defendant’s “Motion To Join Co-

Defendants Motions” (document #88) filed February 9, 2006. The Motion is hereby GRANTED.

      The Clerk is directed to send copies of this Order to counsel for the parties.

      SO ORDERED.

                                                Signed: February 9, 2006




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